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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

INTERACTIVE HEALTH, INC., an Illinois )
corporation,                             )
                                         )
                         Plaintiff,      )                  No. 17-CV-4924
                                         )
       v.                                )                  Hon. John Z. Lee
                                         )
THE VITALITY GROUP, INC.,                )
an Illinois corporation; THE VITALITY    )
GROUP, LLC, a Delaware Limited Liability )
Company registered to do business in     )
Illinois, and ANTONIA DUMITRIU-          )
MORENTZ,                                 )
                                         )
                         Defendants.     )

                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties stipulate to dismissal of this case

with prejudice, with each party to bear its own costs and attorneys’ fees.

         Respectfully submitted,

 Interactive Health, Inc.                              The Vitality Group, Inc., The Vitality Group,
 Plaintiff                                             LLC and Antonia Dumitriu-Morentz
                                                       Defendants


 By: /s David J. Tecson                                By: /s Jillian S. Cole
 David J. Tecson (ARDC# 6198108)                       James D. Wilson (ARDC 3033643)
 Daniel J. Fumagalli (ARDC# 6182648)                   Daniel R. Saeedi (ARDC 6279025)
 Adam K. Beattie (ARDC# 6299064)                       Jillian S. Cole (ARDC 6296493)
 Chuhak & Tecson, P.C.                                 Rachel L. Schaller (ARDC 6306921)
 30 S. Wacker Drive, Suite 2600                        Taft Stettinius & Hollister LLP
 Chicago, Illinois 60606                               111 East Wacker Drive, Suite 2800
 (312) 444 - 9300                                      Chicago, Illinois 60601
 dtecson@chuhak.com                                    jwilson@taftlaw.com
 dfumagalli@chuhak.com                                 jcole@taftlaw.com
 abeattie@chuhak.com                                   dsaeedi@taftlaw.com
                                                       rschaller@taftlaw.com




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         ALL OF WHICH IS HEREBY APPROVED and this action is hereby DISMISSED,

WITH PREJUDICE, each party to bear its own costs.


Dated: ____________                             ________________________________
                                                Hon. John Z. Lee




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